Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 1 of 32
                                          EXHIBIT L
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 2 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 3 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 4 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 5 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 6 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 7 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 8 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 9 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 10 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 11 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 12 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 13 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 14 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 15 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 16 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 17 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 18 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 19 of 32
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 20 of 32
June 21, 2017
Tonya Woods
Director for Freedom of Information
USDA
VIA Online Submission
Dear Ms. Woods:
This is a request for public records made on behalf of People for the Ethical Treatment
of Animals (PETA) pursuant to the federal Freedom of Information Act (FOIA), 5
U.S.C. § 552, as amended, and the accompanying USDA regulations, 7 C.F.R. §§ 1.1-
1.25.
PETA requests all inspection reports from September 1, 2016 onwards for the
following exhibitors:
_ Bailiwick Animal Ranch            21-C-0452
_ Pymatuning Deer Park              23-C-0019
_ Oswalds Bear Park                 34-C-0123
_ DeYoung Family Zoo                34-C-0141
_ Tri-State Zoological              51-C-0064
_ Wilson’s Wild Animal Park 52-C-0038
If records which are responsive to this request are located in other USDA offices,
please forward this request to all appropriate offices.
PETA is a non-profit public interest organization and as such PETA requests that all




                                                                                             Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 21 of 32
fees be waived pursuant to 5 U.S.C. § 552 (a)(4)(A)(iii). PETA has no commercial
interest in the requested information, and its disclosure will contribute significantly to
the public’s understanding of the USDA’s administration of the AWA. For this
reason, the USDA has routinely granted PETA a fee waiver. However, should you
need additional information to process this request for a fee waiver, please let me
know as soon as possible.
If you have any questions about this request, please contact me at 757-962-8323 or
TeresaM@petaf.org.
Very truly yours,
Teresa Marshall, Information Officer
Captive Animal Law Enforcement
January 11, 2018
Tonya Woods
Director for Freedom of Information
USDA
VIA Online Submission
Dear Ms. Woods:
This is a request for public records made on behalf of People for the Ethical Treatment
of Animals (PETA) pursuant to the federal Freedom of Information Act (FOIA), 5
U.S.C. § 552, as amended, and the accompanying USDA regulations, 7 C.F.R. §§ 1.1-
1.25.
PETA requests all documents related to Tri-State Zoo 51-C-0064 from January 10,
2017 onwards. By all docs I am requesting:
• investigation reports;
• all written correspondence, including emails between the exhibitor and the
USDA, between members of the public and the USDA, and internal
correspondence relating to the exhibitor;
• permit and license applications;
• memoranda;
• veterinary records;
• photographs; and
• all attachments or exhibits to the above records.




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If records which are responsive to this request are located in other USDA offices,
please forward this request to all appropriate offices.
PETA is a non-profit public interest organization and as such PETA requests that all
fees be waived pursuant to 5 U.S.C. § 552 (a)(4)(A)(iii). PETA has no commercial
interest in the requested information, and its disclosure will contribute significantly to
the public’s understanding of the USDA’s administration of the AWA. For this
reason, the USDA has routinely granted PETA a fee waiver. However, should you
need additional information to process this request for a fee waiver, please let me
know as soon as possible.
If you have any questions about this request, please contact me at 757-962-8323 or
TeresaM@petaf.org.
Very truly yours,
Teresa Marshall, Information Officer
Captive Animal Law Enforcement
Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 23 of 32
January 28, 2019
Tonya Woods
Director for Freedom of Information
USDA
VIA Online Submission
Dear Ms. Woods:
This is a request for public records made on behalf of People for the Ethical Treatment
of Animals (PETA) pursuant to the federal Freedom of Information Act (FOIA), 5
U.S.C. § 552, as amended, and the accompanying USDA regulations, 7 C.F.R. §§ 1.1-
1.25.
PETA requests all records related to Tri State Zoological Park Of Western
Maryland, 51_C_0064, dated January 1, 2018 onwards. By all documents, I
refer to:
_ investigation reports;
_ all written correspondence, including emails between the exhibitor
and the USDA, between members of the public (complainants) and
the USDA, and internal correspondence (emails, memos) in IES
and AC, relating to the exhibitor;
_ permit and license applications;
_ memoranda;
_ itineraries;




                                                                                             Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 24 of 32
_ inspection reports;
_ veterinary records;
_ photographs in the original digital format and videos; and
_ all attachments or exhibits to the above records.
If records which are responsive to this request are located in other USDA offices,
please forward this request to all appropriate offices.
PETA is a non-profit public interest organization and as such PETA requests that all
fees be waived pursuant to 5 U.S.C. § 552 (a)(4)(A)(iii). PETA has no commercial
interest in the requested information, and its disclosure will contribute significantly to
the public’s understanding of the USDA’s administration of the AWA. For this
reason, the USDA has routinely granted PETA a fee waiver. However, should you
need additional information to process this request for a fee waiver, please let me
know as soon as possible.
If you have any questions about this request, please contact me at 757-962-8323 or
TeresaM@petaf.org.
Very truly yours,
Teresa Marshall, Information Officer
Captive Animal Law Enforcement
January 17, 2020
Tonya Woods
Director for Freedom of Information
USDA
VIA Online Submission
Dear Ms. Woods:
This is a request for public records made on behalf of People for the Ethical Treatment
of Animals (PETA) pursuant to the federal Freedom of Information Act (FOIA), 5
U.S.C. § 552, as amended, and the accompanying USDA regulations, 7 C.F.R. §§ 1.1-
1.25.
PETA requests all records related to Tri State Zoological Park Of Western Maryland,
51_C_0064, dated January 1, 2018 onwards. By all records I refer to:
_ Investigation reports;
_ License applications and renewals;
_ Memoranda;
_ Itineraries;
_ Veterinary records;
_ Videos and photographs in their original digital format;
_ All attachments or exhibits to the above records;
_ All internal communications pertaining to the subject of the records specified
above, including but not limited to text messages on government-issued devices




                                                                                              Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 25 of 32
or personal devices;
_ All communications to/from the licensees, registrants, or their representatives
pertaining to the subject of the records specified above, including but not limited
to text messages on government-issued devices or personal devices; and
_ All written correspondence, including emails between members of the public
(complainants) and the USDA.
If records which are responsive to this request are located in other USDA offices, please
forward this request to all appropriate offices.
PETA is a non-profit public interest organization and as such PETA requests that all fees
be waived pursuant to 5 U.S.C. § 552 (a)(4)(A)(iii). PETA has no commercial interest in
the requested information, and its disclosure will contribute significantly to the public’s
understanding of the USDA’s administration of the AWA. For this reason, the USDA
has routinely granted PETA a fee waiver. However, should you need additional
information to process this request for a fee waiver, please let me know as soon as
possible.
If you have any questions about this request, please contact me at 757-962-8323 or
TeresaM@petaf.org.
Very truly yours,
Teresa Marshall, Information Officer
Captive Animal Law Enforcement
February 28, 2020
PIA Coordinator
Maryland Department of Health
Via email: MDH.PIA@maryland.gov
Dear PIA Coordinator:
On behalf of People for the Ethical Treatment of Animals, Inc. and pursuant to
Maryland’s Public Information Act, codified at Md. Code Ann., State Gov’t §§ 10-611 to
10-628, (2004 & Cumm. Supp. 2005), I am requesting copies of the following public
records:
_ All records with the Allegany County Health Department’s Community
Environmental Health Services related to Robert Candy, Tri-State Zoological
Park of Western Maryland, Inc., Animal Park, Care & Rescue, Inc., and 10105
Cottage Inn Ln NE Cumberland, MD 21502, from 2012-2015, including but not
limited to copies of all public health nuisance complaints, correspondence,
inspections, citations, and enforcement actions regarding these entities/address.
If any of the documents described above are considered to be exempt from release,
please: 1) redact the portions to which you are asserting an exemption and provide access
to all reasonably segregable non-exempt portions; 2) specify the specific legal authority
exempting such record(s) from disclosure; and 3) state with particularity the reasons that
such records are deemed exempt in the location where any such redaction is made. See
Blythe v. State, 161 Md. App. 492, 519, 870 A.2d 1246, cert. granted, 388 Md. 97, 879




                                                                                              Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 26 of 32
A.2d 42 (2005).
We respectfully request that production of the responsive documents be fulfilled without
charge in light of PETA’s non-profit status and the fact that releasing the requested
records is in the public interest. PETA will synthesize the information obtained from this
request and educate the public about the county’s regulation of exhibitors of wild and
potentially dangerous animals.
If this request for a waiver or reduction of fees is denied and fees are expected to exceed
$25.00, please notify me to this effect by telephone or electronic mail before this request
is processed. To conserve public resources, please provide the requested records, to the
extent possible, via facsimile to 757-628-0784, or electronic mail attachment to
KateP@petaf.org. I look forward to hearing from you within [30] days. See § 10-614(b).
Thank you for your assistance.
Sincerely,
Kate Parnin,
Coordinator, Captive Animal Law Enforcement
February 28, 2020
PIA Coordinator
Maryland Department of the Environment
Via email: MDE.PIA@maryland.gov
Dear PIA Coordinator:
On behalf of People for the Ethical Treatment of Animals, Inc. and pursuant to
Maryland’s Public Information Act, codified at Md. Code Ann., State Gov’t §§ 10-
611 to 10-628, (2004 & Cumm. Supp. 2005), I am requesting copies of the following
public records:
_ All records related to Robert Candy, Tri-State Zoological Park of Western
Maryland, Inc., Animal Park, Care & Rescue, Inc., and 10105 Cottage Inn Ln
NE Cumberland, MD 21502, from 2012-2015, including but not limited to
copies of all correspondence, inspections, citations, enforcement actions, and
complaints regarding these entities/address.
If any of the documents described above are considered to be exempt from release,
please: 1) redact the portions to which you are asserting an exemption and provide
access to all reasonably segregable non-exempt portions; 2) specify the specific legal
authority exempting such record(s) from disclosure; and 3) state with particularity the
reasons that such records are deemed exempt in the location where any such
redaction is made. See Blythe v. State, 161 Md. App. 492, 519, 870 A.2d 1246, cert.
granted, 388 Md. 97, 879 A.2d 42 (2005).




                                                                                          Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 27 of 32
We respectfully request that production of the responsive documents be fulfilled
without charge in light of PETA’s non-profit status and the fact that releasing the
requested records is in the public interest. PETA will synthesize the information
obtained from this request and educate the public about the state’s regulation of
exhibitors of wild and potentially dangerous animals.
If this request for a waiver or reduction of fees is denied and fees are expected to
exceed $25.00, please notify me to this effect by telephone or electronic mail before
this request is processed. To conserve public resources, please provide the requested
records, to the extent possible, via facsimile to 757-628-0784, or electronic mail
attachment to KateP@petaf.org. I look forward to hearing from you within [30] days.
See § 10-614(b).
Thank you for your assistance.
Sincerely,
Kate Parnin,
Coordinator, Captive Animal Law Enforcement
From: Google Forms <forms-receipts-noreply@google.com>
Sent: Thu, 11 Jul 2019 18:48:05 +0000
To: Kate Parnin <KateP@petaf.org>
Subject: Maryland Department of Natural Resources: Public Information Act Request
Thanks for filling out Maryland Department of Natural Resources: Public Information Act Request
Here's what we got from you:




                                                                                                  Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 28 of 32
Maryland Department of Natural Resources: Public
Information Act Request
Please use this form is for making requests for "public records" from the Maryland Department of Natural
Resources only.
A public record is defined as the original or copy of any documentary material in any form, to include written
materials, books, photographs, photocopies, films, microfilms, records, tapes, computerized records, maps
and drawings created or received by the department in connection with the transaction of public business.
For information about the Public Information Act, please visit dnr.maryland.gov/Pages/pia.aspx.
Email address*
KateP@petaf.org
Name:*
Kate Parnin
Phone:*
757-962-8315
Mailing Address:*
501 Front Street, Norfolk, VA 23510
Public Records being requested:*
All records related to Robert Candy, Tri-State Zoological Park of Western
Maryland, and Animal Park, Care & Rescue, from December 24, 2016
through the date this request is processed, including but not limited to all
records regarding Case No. 7Y66234476.




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Create your own Google Form
From: Google Forms <forms-receipts-noreply@google.com>
Sent: Wed, 18 Mar 2020 18:59:40 +0000
To: Kate Parnin <KateP@petaf.org>
Subject: Maryland Department of Natural Resources: Public Information Act Request
Thanks for filling out Maryland Department of Natural Resources: Public Information Act Request
Here's what we got from you:
Maryland Department of Natural Resources: Public Information Act Request
Please use this form is for making requests for "public records" from the Maryland Department of
Natural Resources only.
A public record is defined as the original or copy of any documentary material in any form, to
include written materials, books, photographs, photocopies, films, microfilms, records, tapes,
computerized records, maps and drawings created or received by the department in connection
with the transaction of public business.
For information about the Public Information Act, please visit dnr.maryland.gov/Pages/pia.aspx.
Email address*
KateP@petaf.org
Name:*
Kate Parnin
Phone:*




                                                                                                   Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 30 of 32
757-962-8315
Mailing Address:*
501 Front Street, Norfolk, VA 23510
Public Records being requested:*
All records related to Robert Candy, Tri-State Zoological Park of Western
Maryland, and Animal Park, Care & Rescue, from July 11, 2019 through the
date this request is processed, including but not limited to all records
regarding State of Maryland v. Candy, Case No. 7Y66234476
Create your own Google Form




                                                                            Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 31 of 32
April 30, 2020
PIA Coordinator
Maryland Department of the Environment
Via email: MDE.PIA@maryland.gov
Dear PIA Coordinator:
On behalf of People for the Ethical Treatment of Animals, Inc. and pursuant to
Maryland’s Public Information Act, codified at Md. Code Ann., State Gov’t §§ 10-
611 to 10-628, (2004 & Cumm. Supp. 2005), I am requesting copies of the following
public records:
_ All records related to Robert Candy, Tri-State Zoological Park of Western
Maryland, Inc., Animal Park, Care & Rescue, Inc., and 10105 Cottage Inn Ln
NE Cumberland, MD 21502, from January 1, 2016 through the date this
request is processed, including but not limited to copies of all
correspondence, inspections, citations, enforcement actions, and complaints
regarding these entities/address.
If any of the documents described above are considered to be exempt from release,
please: 1) redact the portions to which you are asserting an exemption and provide
access to all reasonably segregable non-exempt portions; 2) specify the specific legal
authority exempting such record(s) from disclosure; and 3) state with particularity the
reasons that such records are deemed exempt in the location where any such
redaction is made. See Blythe v. State, 161 Md. App. 492, 519, 870 A.2d 1246, cert.




                                                                                          Case 1:20-cv-01225-PX Document 71-44 Filed 12/20/21 Page 32 of 32
granted, 388 Md. 97, 879 A.2d 42 (2005).
We respectfully request that production of the responsive documents be fulfilled
without charge in light of PETA’s non-profit status and the fact that releasing the
requested records is in the public interest. PETA will synthesize the information
obtained from this request and educate the public about the state’s regulation of
exhibitors of wild and potentially dangerous animals.
If this request for a waiver or reduction of fees is denied and fees are expected to
exceed $25.00, please notify me to this effect by telephone or electronic mail before
this request is processed. To conserve public resources, please provide the requested
records, to the extent possible, via facsimile to 757-628-0784, or electronic mail
attachment to KateP@petaf.org. I look forward to hearing from you within [30] days.
See § 10-614(b).
Thank you for your assistance.
Sincerely,
Kate Parnin,
Coordinator, Captive Animal Law Enforcement
